            Case 1:23-mc-00064-UNA Document 1 Filed 06/22/23 Page 1 of 6




                                                                                   Keyonn L. Pope
                                                                                      312-471-8771
                                                                                kpope@rshc-law.com




                                         June 22, 2023

VIA EMAIL

Clerk of Court                                               Case: 1:23−mc−00064
                                                             Assigned To : Unassigned
United States District Court District of Columbia            Assign. Date : 6/22/2023
333 Constitution Avenue N.W.                                 Description: Misc.
Washington, D.C. 20001
Email: dcd_intake@dcd.uscourts.gov

Re:    Application for DMCA Subpoena

Dear Sir/Madam:

        On behalf of our client, Entertainment Software Association (hereinafter “ESA”), we
respectfully request that the Clerk issue a subpoena pursuant to 17 U.S.C. § 512(h).

        By way of background, Section 512(h) of the Digital Millennium Copyright Act provides
that “copyright owner or person authorized to act on the owner’s behalf may request the clerk of
any United States District Court to issue a subpoena to a service provider for identification of an
alleged infringer in accordance with this subsection.” 17 U.S.C. § 512(h)(1). For a subpoena to
be issued, Section 512(h) requires that a copyright owner file the following with the Clerk:

       1.       A copy of the notification required by Section 512(c)(3)(A);

       2.       A proposed subpoena; and

       3.      A sworn declaration to the effect that the purpose for which the subpoena is sought
       is to obtain the identity of an alleged infringer and that such information will only be used
       for the purpose of protecting rights under this title.

        Accordingly, attached for filing with the Clerk is ESA’s notification pursuant to Section
512(c)(3)(A), a proposed subpoena and a sworn declaration. As ESA has complied with the
requirements of the statute, they respectfully request the Clerk’s expeditious action to minimize
further harm to ESA by way of the continued unauthorized exploitation of the copyrighted
materials.


                                                                    RECEIVED
                                                                               JUN 22 2023
                                                                       Clerk, U.S. District & Bankruptcy
                                                                       Court for the District of Columbia
          Case 1:23-mc-00064-UNA Document 1 Filed 06/22/23 Page 2 of 6


Clerk of Court
United States District Court
  District of Columbia
June 22, 2023
Page 2


       Thank you in advance and please do not hesitate to contact me should you need anything.

                                                  Very truly yours,

                                                  /s/ Keyonn L. Pope

                                                  Keyonn L. Pope



KLP/gem
            Case 1:23-mc-00064-UNA Document 1 Filed 06/22/23 Page 3 of 6




                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


ENTERTAINMENT SOFTWARE ASSOC.,                        )
                                                      )
               Movant,                                )       Case:
                                                      )       Assigned To:
       v.                                             )       Assign. Date:
                                                      )       Description:
CLOUDFLARE, INC.,                                     )
                                                      )
               Non-movant.                            )

                               MOTION TO ISSUE SUBPOENA


       Entertainment Software Association (“ESA”) respectfully requests that the Clerk issue a

subpoena pursuant to 17 U.S.C. § 512(h) requiring Cloudflare, Inc. (“Cloudflare”) to provide the

identity of the alleged infringers as set forth in the foregoing Exhibit. In support of its motion,

ESA states as follows:

       1.      ESA is a U.S. trade association that represents the interests of the leading

publishers of interactive games for video game consoles, personal computers, handheld devices,

and the Internet (“ESA Member Companies”). ESA Member Companies own the intellectual

property, including copyright, patent, and trademark rights, associated with their entertainment

software products. ESA is authorized to represent ESA Member Companies in enforcement

actions against third parties that infringe or contribute to the infringement of ESA Member

Companies’ intellectual property rights.

       2.      Without ESA’s or ESA Member Companies’ authorization, websites hosted on

Cloudflare’s network are offering for download ESA Member Companies’ copyrighted

materials. Non-limiting examples of the unauthorized copies of ESA Member Companies’

copyrighted games include The Legend of Zelda: Tears of the Kingdom, The Show 23,
              Case 1:23-mc-00064-UNA Document 1 Filed 06/22/23 Page 4 of 6




Minecraft, Sonic Frontiers, Mario Kart 8 Deluxe, Rayman Legends, and Crash Bandicoot N.

Sane Trilogy, Resident Evil 4, The Last of Us, Call of Duty Modern Warfare II, God of War

Ragnarok, Star Fox Zero, Forza Horizon 5, and Assassin’s Creed II.

         3.       ESA has notified Cloudflare of the alleged infringement.

         4.       ESA seeks issuance of a subpoena to obtain the identity of the alleged infringers

and protect its intellectual property rights in accordance with 17 U.S.C. § 512.

         WHEREFORE, ESA respectfully requests that the Clerk issue a subpoena pursuant to 17

U.S.C. § 512(h) requiring Cloudflare to provide the identity of the alleged infringer as set forth

herein and in the foregoing Exhibit.



Dated: June 22, 2023                               Respectfully submitted,

                                                   /s/ Keyonn L. Pope                       .




                                                   Keyonn L. Pope
                                                   Edgar Matias
                                                   RILEY SAFER HOLMES & CANCILA LLP
                                                   70 West Madison Street, Suite 2900
                                                   Chicago, Illinois 60602
                                                   Telephone:     312.471.8700
                                                   Facsimile:     312.471.8701
                                                   Email: kpope@rshc-law.com
                                                   Email: ematias@rshc-law.com


                                                   Counsel for Movant, Entertainment Software
                                                   Association.


4855-3171-2356, v. 1




                                                   2
                Case 1:23-mc-00064-UNA Document 1 Filed 06/22/23 Page 5 of 6


                                                                                          Keyonn L. Pope
                                                                                          (312) 471-8771
                                                                                     kpope@rshc-law.com




                                                 June 22, 2023


      VIA EMAIL

      Cloudflare, Inc.
      101 Townsend Street
      San Francisco, CA 94107
      legal@cloudflare.com
      registrar-abuse@cloudflare.com

              Re:    DMCA Notification

      To Whom It May Concern:

              I write on behalf of Entertainment Software Association (“ESA”). ESA is a U.S. trade
      association that represents the interests of the leading publishers of interactive games for video
      game consoles, personal computers, handheld devices, and the Internet (“ESA Member
      Companies”). ESA Member Companies own the intellectual property, including copyright, patent,
      and trademark rights, associated with their entertainment software products. ESA is authorized to
      represent ESA Member Companies in enforcement actions against third parties that infringe or
      contribute to the infringement of ESA Member Companies’ intellectual property rights.

              We recently learned that Cloudflare, Inc. (“Cloudflare”) is hosting nsw2u.com and game-
      2u.com (“Infringing Websites”) on its network. The Infringing Websites are distributing
      unauthorized copies of ESA Member Companies’ copyrighted games. Non-limiting examples of
      the unauthorized copies of ESA Member Companies’ copyrighted games include The Legend of
      Zelda: Tears of the Kingdom, The Show 23, Minecraft, Sonic Frontiers, Mario Kart 8 Deluxe,
      Rayman Legends, and Crash Bandicoot N. Sane Trilogy, Resident Evil 4, The Last of Us, Call of
      Duty Modern Warfare II, God of War Ragnarok, Star Fox Zero, Forza Horizon 5, and Assassin’s
      Creed II. We have a good faith belief that the copyright owner, its agent, or the law have not
      authorized this activity. We assert that the information in this notification is accurate, based upon
      the data available to us.

             Therefore, we ask that Cloudflare consider the infringing nature of the Infringing Websites
      operators’ conduct, and whether the Infringing Websites’ activities violate Cloudflare’s terms of
      services.

              This correspondence does not waive any rights to recover damages incurred due to any
      unauthorized activity. ESA and ESA Member Companies expressly reserve all rights and claims
      for other relief. In addition, if applicable, ESA’s use of Cloudflare’s required notice form is merely



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Office: 312.471.8700 • Fax: 312.471.8701 • rshc-law.com
            Case 1:23-mc-00064-UNA Document 1 Filed 06/22/23 Page 6 of 6


Cloudflare, Inc.
June 22, 2023
Page 2


meant to facilitate removal of the infringing material and is not meant to suggest or imply that
Cloudflare’s activities and services are within the scope of the DMCA safe harbor.

         Feel free to contact me at kpope@rshc-law.com or (312) 471-8771 to discuss this notice.



                                             Sincerely,




                                             Keyonn L. Pope


4870-6538-6084, v. 1
